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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                             Chapter 11

         ZOHAR III, CORP., et al.1,                                         Case No. 18-10512 (KBO)

                          Debtors.                                          (Jointly Administered)



         BLANK ROME LLP, FFP (CAYMAN)
         LIMITED, MAPLES AND CALDER
         MAPLESFS LIMITED, MORRIS,
         NICHOLS, ARSHT & TUNNEL LLP,
         GARY NEEMS, and QUINN EMANUEL
         URQUHART & SULLIVAN LLP,
                                                                            Adv. Proc. No. 19-50273 (KBO)
                          Plaintiffs,

                                   v.

         ZOHAR CDO 2003-1 CORP. and
         ZOHAR CDO 2003-1 LIMITED,

                          Defendants.



                            NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                            HEARING ON SEPTEMBER 24, 2019 AT 10:00 A.M. (ET)

         ADJOURNED MATTERS

         1.       Debtors’ Motion for an Order Determining Dispute Between the Debtors and Patriarch
                  Partners Management Services, LLC Related to Pending Oasis Transaction [(SEALED)
                  D.I. 911; 9/6/19; (REDACTED) D.I. 912; 9/6/19]

                  Related Documents:




         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
         Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
         (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times
         Square, c/o FTI Consulting, Inc., New York, NY 10036.
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                A.        Order Approving and Authorizing the Settlement Agreement By and Between the
                          Debtors, Lynn Tilton, the Patriarch Stakeholders, MBIA Insurance Corp., and the
                          Zohar III Controlling Class [D.I. 266; 5/21/18]

                B.        Order Approving Independent Director Service Agreement and Indemnification
                          Agreement [D.I. 345; 6/26/18]

                C.        Motion of the Debtors for Entry of an Order in Aid of Implementation of the
                          Global Settlement Agreement Approved in These Cases Establishing Certain
                          Procedures for the Independent Directors’ Approval of Monetization Transactions
                          and Related Relief [D.I. 481; 10/23/18]

                D.        Order in Aid of Implementation of the Global Settlement Agreement Approved in
                          These Cases Establishing Certain Procedures for the Independent Director's
                          Approval of Monetization Transactions and Related Relief [D.I. 545; 11/9/18]

                E.        Order Extending 15-Month Window Under the Court-Approved Settlement
                          Agreement By and Between the Debtors, Lynn Tilton, the Patriarch Stakeholders,
                          MBIA Insurance Corp., and the Zohar III Controlling Class and Granting Related
                          Relief [D.I. 871; 8/27/19]

                F.        Order Appointing Replacement Mediator [D.I. 890; 9/3/19]

                G.        Debtors’ Motion for Entry of an Order Authorizing Filing of Motion Under Seal
                          [D.I. 913; 9/6/19]

                H.        Order Approving Consummation of Oasis Portfolio Company Transaction [D.I.
                          918; 9/9/19]

                Response Deadline:                     Extended

                Responses Received:                    None as of this date

                Status:          This matter is adjourned to a date and time to be determined.

         2.     Debtors’ Motion for Entry of an Order Authorizing Filing of Motion Under Seal [D.I.
                913; 9/6/19]

                Related Documents:

                A.        Debtors’ Motion for an Order Determining Dispute Between the Debtors and
                          Patriarch Partners Management Services, LLC Related to Pending Oasis
                          Transaction [(SEALED) D.I. 911; 9/6/19; (REDACTED) D.I. 912; 9/6/19]

                Response Deadline:                     Extended

                Responses Received:
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                B.        United States Trustee’s Omnibus Reservation of Rights to Motions to File Under
                          Seal [D.I. 937; 9/20/19]

                Status:          This matter is adjourned to a date and time to be determined.

         3.     PPMG’s Opening Brief Regarding PPMG’s Right to Payment of Transaction Fees in
                Connection with the Oasis Transaction [(SEALED) D.I. 914; 9/6/19]

                Related Documents:

                A.        Order Approving and Authorizing the Settlement Agreement By and Between the
                          Debtors, Lynn Tilton, the Patriarch Stakeholders, MBIA Insurance Corp., and the
                          Zohar III Controlling Class [D.I. 266; 5/21/18]

                B.        Order Approving Independent Director Service Agreement and Indemnification
                          Agreement [D.I. 345; 6/26/18]

                C.        Motion of the Debtors for Entry of an Order in Aid of Implementation of the
                          Global Settlement Agreement Approved in These Cases Establishing Certain
                          Procedures for the Independent Directors’ Approval of Monetization Transactions
                          and Related Relief [D.I. 481; 10/23/18]

                D.        Order in Aid of Implementation of the Global Settlement Agreement Approved in
                          These Cases Establishing Certain Procedures for the Independent Director's
                          Approval of Monetization Transactions and Related Relief [D.I. 545; 11/9/18]

                E.        Order Extending 15-Month Window Under the Court-Approved Settlement
                          Agreement By and Between the Debtors, Lynn Tilton, the Patriarch Stakeholders,
                          MBIA Insurance Corp., and the Zohar III Controlling Class and Granting Related
                          Relief [D.I. 871; 8/27/19]

                F.        Order Appointing Replacement Mediator [D.I. 890; 9/3/19]

                G.        Motion of PPMG for Entry of an Order Authorizing Filing of Motion Under Seal
                          [D.I. 915; 9/6/19]

                H.        Order Approving Consummation of Oasis Portfolio Company Transaction [D.I.
                          918; 9/9/19]

                Response Deadline:                     Extended

                Responses Received:                    None as of this date

                Status:          This matter is adjourned to a date and time to be determined.


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         4.         Motion of PPMG for Entry of an Order Authorizing Filing of Motion Under Seal [D.I.
                    915; 9/6/19]

                    Related Documents:

                    A.        PPMG’s Opening Brief Regarding PPMG’s Right to Payment of Transaction Fees
                              in Connection with the Oasis Transaction [(SEALED) D.I. 914; 9/6/19]

                    Response Deadline:                             Extended

                    Responses Received:

                    B.        United States Trustee’s Omnibus Reservation of Rights to Motions to File Under
                              Seal [D.I. 937; 9/20/19]

                    Status:            This matter is adjourned to a date and time to be determined.

         5.         Pretrial Conference for Adversary Case No. 19-50273

                    Related Documents:

                    A.        Complaint to Determine that Certain Funds Belong to Blank Rome LLP, FFP
                              (Cayman) Limited, Maples and Calder, MaplesFS Limited, Morris, Nichols, Arsht
                              & Tunnel LLP, Gary Neems, and Quinn Emanuel Urquhart & Sullivan LLP [D.I.
                              1; 7/12/19]

                    B.        Summons and Notice of Pretrial Conference in an Adversary Proceeding [D.I. 3;
                              7/12/19]

                    Response Deadline:                             August 12, 2019

                    Responses Received:

                    C.        Answer to Complaint [D.I. 4; 8/12/19]

                    Status:            This matter is adjourned to a date and time to be determined.

         MATTERS GOING FORWARD

         6.         Motion of the Debtors for Entry of an Order (A) Implementing the Terms of the
                    Settlement Agreement and (B) Resolving Dispute Over Monetization Process Pursuant to
                    Paragraph 11 of the Settlement Agreement [(SEALED) D.I. 833; 8/7/19; (REDACTED)
                    D.I. 9382; 9/20/19]


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             A previous version of this Motion was filed, in its entirety, under seal at D.I. 834.
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                Related Documents:

                A.        Order Approving and Authorizing the Settlement Agreement By and Between the
                          Debtors, Lynn Tilton, the Patriarch Stakeholders, MBIA Insurance Corp., and the
                          Zohar III Controlling Class [D.I. 266; 5/21/18]

                B.        Debtors’ Motion for Entry of an Order Authorizing Filing of Motion Under Seal
                          [D.I. 835; 8/7/19]

                C.        Notice of Hearing [D.I. 844; 8/9/19]

                D.        Order Extending 15-Month Window Under the Court-Approved Settlement
                          Agreement By and Between the Debtors, Lynn Tilton, the Patriarch Stakeholders,
                          MBIA Insurance Corp., and the Zohar III Controlling Class and Granting Related
                          Relief [D.I. 871; 8/27/19]

                E.        Re-Notice of Hearing and Objection Deadlines [D.I. 876; 8/27/19]

                F.        Order Appointing Replacement Mediator [D.I. 890; 9/3/19]

                G.        Order, Pursuant to Section 105 of the Bankruptyc Code, Bankruptcy Rule 7026,
                          and Local Rule 7026-1, Granting the Debtors and Others Protection from
                          Discovery Requests [D.I. 906; 9/5/19]

                H.        Notice of Withdrawal Regarding Docket Nos. 928, 929 and 930 [D.I. 931;
                          9/14/19]

                I.        Motion of Patriarch for Entry of an Order Authorizing Filing of Motion Under
                          Seal [D.I. 934; 9/14/19]

                Response Deadline:                     September 13, 2019 at 4:00 p.m. (ET)

                Responses Received:

                J.        Patriarch’s Amended Opposition to the Debtors’ Motion for Entry of an Order (A)
                          Implementing the Terms of the Settlement Agreement and (B) Resolving Dispute
                          Over Monetization Process [(SEALED) D.I. 933; 9/14/19; (REDACTED) D.I.
                          932; 9/14/19]

                Status:          This matter is going forward.

         7.     Debtors’ Motion for Entry of an Order Authorizing Filing of Motion Under Seal [D.I.
                835; 8/7/19]

                Related Documents:

                A.        Motion of the Debtors for Entry of an Order (A) Implementing the Terms of the
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                              Settlement Agreement and (B) Resolving Dispute Over Monetization Process
                              Pursuant to Paragraph 11 of the Settlement Agreement [(SEALED) D.I. 833;
                              8/7/19; (REDACTED) D.I. 9383; 8/20/19]

                    B.        Notice of Hearing [D.I. 844; 8/9/19]

                    C.        Re-Notice of Hearing and Objection Deadlines [D.I. 876; 8/27/19]

                    Response Deadline:                             September 13, 2019 at 4:00 p.m. (ET)

                    Responses Received:

                    D.        United States Trustee’s Omnibus Reservation of Rights to Motions to File Under
                              Seal [D.I. 937; 9/20/19]

                    Status:            The U.S. Trustee provided comments to the motion and filed a reservation
                                       of rights with respect thereto [Item D]. The Debtors have worked with the
                                       U.S. Trustee to resolve its response and intend to file a revised form of
                                       order under certification of counsel prior to the hearing.

         8.         Motion of Patriarch for Entry of an Order Authorizing Filing of Motion Under Seal [D.I.
                    934; 9/14/19]

                    Related Documents:

                    A.        Patriarch’s Amended Opposition to the Debtors’ Motion for Entry of an Order (A)
                              Implementing the Terms of the Settlement Agreement and (B) Resolving Dispute
                              Over Monetization Process [(SEALED) D.I. 933; 9/14/19; (REDACTED) D.I.
                              932; 9/14/19]

                    Response Deadline:                    Not Specified

                    Responses Received:

                    B.        United States Trustee’s Omnibus Reservation of Rights to Motions to File Under
                              Seal [D.I. 937; 9/20/19]

                    Status:            The U.S. Trustee provided comments to the motion and filed a reservation
                                       of rights with respect thereto [Item B]. The Debtors understand that
                                       Patriarch is working with the U.S. Trustee to resolve its response prior to
                                       the hearing.

         9.         Interim Fee Application of the Debtors’ Professionals for Period from June 1, 2019 –
                    August 31, 2019 [D.I. 916; 9/6/19] (See attached Exhibit A)


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             A previous version of this Motion was filed, in its entirety, under seal at D.I. 834.
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                Related Documents:                None

                Response Deadline:                September 23, 2019 at 4:00 p.m. (ET)

                Responses Received:               None as of this date

                Status:      The matter is going forward.


         Dated: September 20, 2019         YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                           /s/ Shane M. Reil
                                           James L. Patton, Jr. (No. 2202)
                                           Robert S. Brady (No. 2847)
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                                           Counsel to the Debtors and Debtors in Possession




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